                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


EXPRESS MOBILE, INC.,
                                                   Civil Action No. 2:16-cv-1412-JRG
                        Plaintiff,                 LEAD CASE
       v.

GUIDANCE SOLUTIONS, INC.,

                        Defendant.

VOLUSION, LLC and KIBO
SOFTWARE, INC.,                                    Civil Action No. 2:17-cv-64-JRG

                        Defendants.



                          ORDER OF DISMISSAL WITH PREJUDICE

          CAME ON THIS DAY for consideration the Joint Motion to Dismiss with Prejudice all
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claims asserted between Plaintiff Express Mobile, Inc. and Defendants Volusion, LLC and Kibo

Software, Inc., and the Court being of the opinion that said motion should be GRANTED, it is

hereby:

          ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit by Plaintiff

Express Mobile, Inc. against Defendants Volusion, LLC and Kibo Software, Inc., in Civil Action No.

2:17-cv-64. are hereby dismissed with prejudice.

          It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.
        SIGNED this 3rd day of January, 2012.
          SIGNED this 11th day of May, 2017.




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                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
